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                                                                          6                           IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   FINANCIAL TECHNOLOGY PARTNERS
                                                                              L.P.,
                                                                         10                                                  No. C 07-01298 JSW
                                                                                         Plaintiff,
                                                                         11
United States District Court




                                                                               v.
                               For the Northern District of California




                                                                         12                                                  PRELIMINARY JURY
                                                                              FNX LIMITED, FARID NAIB, and DOES 1-           INSTRUCTIONS
                                                                         13   20
                                                                         14              Defendants.
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                                                                          1                                             DUTY OF JURY
                                                                          2
                                                                          3           Ladies and gentlemen: You are now the jury in this case. It is my duty to instruct you on
                                                                          4   the law.
                                                                          5           These instructions are preliminary instructions to help you understand the principles that
                                                                          6   apply to civil trials and to help you understand the evidence as you listen to it. You will be
                                                                          7   allowed to keep this set throughout the trial to which to refer. This set of instructions is not to
                                                                          8   be taken home and must remain in the jury room when you leave in the evenings. At the end of
                                                                          9   the trial, I will give you a final set of instructions. It is the final set of instructions which will
                                                                         10   govern your deliberations.
                                                                         11              You must not infer from these instructions or from anything I may say or do as
United States District Court
                               For the Northern District of California




                                                                         12   indicating that I have an opinion regarding the evidence or what your verdict should be.
                                                                         13           It is your duty to find the facts from all the evidence in the case. To those facts you will
                                                                         14   apply the law as I give it to you. You must follow the law as I give it to you whether you agree
                                                                         15   with it or not. And you must not be influenced by any personal likes or dislikes, opinions,
                                                                         16   prejudices, or sympathy. That means that you must decide the case solely on the evidence
                                                                         17   before you. You will recall that you took an oath to do so.
                                                                         18           In following my instructions, you must follow all of them and not single out some and
                                                                         19   ignore others; they are all important
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                                                                          1                                        CLAIMS AND DEFENSES
                                                                          2
                                                                          3              To help you follow the evidence, I will give you a brief summary of the positions of the
                                                                          4   parties:
                                                                          5              FT Partners claims that FNX and Farid Naib breached an agreement to render financial
                                                                          6   advisory services by failing to pay four separate investment banking fees.
                                                                          7              FNX and Farid Naib deny these claims. FNX and Farid Naib also raise an affirmative
                                                                          8   defense. FNX contends that FT Partners waived any right it may have had under the contract
                                                                          9   through waivers contained in emails from FT Partners’ principal, Steve McLaughlin.
                                                                         10              The defendant has the burden of proof on these affirmative defenses. FT Partners denies
                                                                         11   FNX and Farid Naib’s affirmative defenses.
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                               For the Northern District of California




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                                                                          1               BURDEN OF PROOF - PREPONDERANCE OF THE EVIDENCE
                                                                          2
                                                                          3          When a party has the burden of proof on any claim or affirmative defense by a
                                                                          4   preponderance of the evidence, it means you must be persuaded by the evidence that the claim
                                                                          5   or affirmative defense is more probably true than not true.
                                                                          6          You should base your decision on all of the evidence, regardless of which party
                                                                          7   presented it.
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                               For the Northern District of California




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                                                                          1                                   WHAT IS EVIDENCE
                                                                          2
                                                                          3       The evidence you are to consider in deciding what the facts are consists of:
                                                                          4       1.     the sworn testimony of any witness;
                                                                          5       2.     the exhibits which are received into evidence; and
                                                                          6       3.     any facts to which the lawyers stipulate.
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                                                                          1                                      WHAT IS NOT EVIDENCE
                                                                          2
                                                                          3           In reaching your verdict, you may consider only the testimony and exhibits received into
                                                                          4   evidence. Certain things are not evidence, and you may not consider them in deciding what the
                                                                          5   facts are. I will list them for you:
                                                                          6           1.      Arguments and statements by lawyers are not evidence. The lawyers are not
                                                                          7                   witnesses. What they will say in their opening statements, in their closing
                                                                          8                   arguments, and at other times is intended to help you interpret the evidence, but
                                                                          9                   it is not evidence. If the facts as you remember them differ from the way the
                                                                         10                   lawyers have stated them, your memory of them controls.
                                                                         11           2.      Questions and objections by lawyers are not evidence. Attorneys have a duty to
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                               For the Northern District of California




                                                                         12                   their clients to object when they believe a question is improper under the rules of
                                                                         13                   evidence. You should not be influenced by the objection or by the court’s ruling
                                                                         14                   on it.
                                                                         15           3.      Testimony that has been excluded or stricken, or that you have been instructed to
                                                                         16                   disregard, is not evidence and must not be considered. In addition sometimes
                                                                         17                   testimony and exhibits are received only for a limited purpose; when I give a
                                                                         18                   limiting instruction, you must follow it.
                                                                         19           4.      Anything you may see or hear when the court is not in session even if what you
                                                                         20                   see or hear is done or said by one of the parties or by one of the witnesses. You
                                                                         21                   are to decide the case solely on the evidence received at the trial.
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                                                                          1                             EVIDENCE FOR LIMITED PURPOSE
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                                                                          3          Some evidence may be admitted for a limited purpose only. When I instruct you that an
                                                                          4   item of evidence has been admitted for a limited purpose, you must consider it only for that
                                                                          5   limited purpose and for no other.
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                                                                          1                        DIRECT AND CIRCUMSTANTIAL EVIDENCE
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                                                                          3          Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such
                                                                          4   as testimony by a witness about what that witness personally saw or heard or did.
                                                                          5   Circumstantial evidence is proof of one or more facts from which you could find another fact.
                                                                          6   You should consider both kinds of evidence. The law makes no distinction between the weight
                                                                          7   to be given to either direct or circumstantial evidence. It is for you to decide how much weight
                                                                          8   to give to any evidence.
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                               For the Northern District of California




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                                                                          1                                     RULING ON OBJECTIONS
                                                                          2
                                                                          3          There are rules of evidence that control what can be received into evidence. When a
                                                                          4   lawyer asks a question or offers an exhibit into evidence and a lawyer on the other side thinks
                                                                          5   that it is not permitted by the rules of evidence, that lawyer may object. If I overrule the
                                                                          6   objection, the question may be answered or the exhibit received. If I sustain the objection, the
                                                                          7   question cannot be answered, and the exhibit cannot be received. Whenever I sustain an
                                                                          8   objection to a question, you must ignore the question and must not guess what the answer might
                                                                          9   have been.
                                                                         10          Sometimes I may order that evidence be stricken from the record and that you disregard
                                                                         11   or ignore the evidence. That means that when you are deciding the case, you must not consider
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                                                                         12   the evidence that I told you to disregard.
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                                                                          1                                  CREDIBILITY OF WITNESSES
                                                                          2
                                                                          3           In deciding the facts in this case, you may have to decide which testimony to believe and
                                                                          4   which testimony not to believe. You may believe everything a witness says, or part of it, or
                                                                          5   none of it. Proof of a fact does not necessarily depend on the number of witnesses who testify
                                                                          6   about it.
                                                                          7           In considering the testimony of any witness, you may take into account:
                                                                          8           1.     the opportunity and ability of the witness to see or hear or know the things
                                                                          9                  testified to;
                                                                         10           2.     the witness’ memory;
                                                                         11           3.     the witness’ manner while testifying;
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                                                                         12           4.     the witness’ interest in the outcome of the case and any bias or prejudice;
                                                                         13           5.     whether other evidence contradicted the witness’ testimony;
                                                                         14           6.     the reasonableness of the witness’ testimony in light of all the other evidence;
                                                                         15                  and
                                                                         16           7.     any other factors that bear on believability.
                                                                         17           The weight of the evidence as to a fact does not necessarily depend on the number of
                                                                         18   witnesses who testify.
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                                                                          1                                     CONDUCT OF THE JURY
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                                                                          3          I will now say a few words about your conduct as jurors.
                                                                          4          First, you are not to discuss the case with anyone, including your fellow jurors, members
                                                                          5   of your family, people involved in the trial, or anyone else, nor are you allowed to permit others
                                                                          6   to discuss the case with you. If anyone approaches you and tries to talk to you about the case
                                                                          7   please let me know about it immediately;
                                                                          8          Second, do not read any news stories or articles or listen to any radio or television
                                                                          9   reports about the case or about anyone who has anything to do with it;
                                                                         10          Third, do not do any research, such as consulting dictionaries, searching the Internet or
                                                                         11   using other reference materials, and do not make any investigation about the case on your own;
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                                                                         12          Fourth, if you need to communicate with me simply give a signed note to my Courtroom
                                                                         13   Deputy to give to me; and
                                                                         14          Fifth, do not make up your mind about what the verdict should be until after you have
                                                                         15   gone to the jury room to decide the case and you and your fellow jurors have discussed the
                                                                         16   evidence. Keep an open mind until then.
                                                                         17          Finally, until this case is given to you for your deliberation and verdict, you are not to
                                                                         18   discuss the case with your fellow jurors.
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                                                                          1                               NO TRANSCRIPT AVAILABLE TO JURY
                                                                          2
                                                                          3          At the end of the trial, you will have to make your decision based on what you recall of
                                                                          4   the evidence. You will not have a transcript of the trial. I urge you to pay close attention to the
                                                                          5   testimony as it is given.
                                                                          6          If at any time you cannot hear or see the testimony, evidence, questions or arguments,
                                                                          7   let me know so that I can correct the problem.
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                                                                          1                                          TAKING NOTES
                                                                          2
                                                                          3          If you wish, you may take notes to help you remember what witnesses said. If you do
                                                                          4   take notes, please keep them to yourself until you and your fellow jurors go to the jury room to
                                                                          5   decide the case. Do not let note-taking distract you so that you do not hear other answers by
                                                                          6   witnesses. When you leave, your notes should be left in the courtroom.
                                                                          7          Whether or not you take notes, you should rely on your own memory of what was said.
                                                                          8   Notes are only to assist your memory. You should not be overly influenced by the notes or
                                                                          9   those of your fellow jurors.
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                                                                          1                            QUESTIONS TO WITNESSES BY JURORS
                                                                          2
                                                                          3          While it is not customary for a juror to ask a question of a witness, if you wish to do so,
                                                                          4   put the question in writing and hand it to my Courtroom Deputy.
                                                                          5          The Court and counsel will review your questions. Do not be concerned if the question
                                                                          6   is not asked.
                                                                          7          Do not discuss your question with anyone, including the Courtroom Deputy. Remember
                                                                          8   that you are not to discuss the case with other jurors until it is submitted for your decision.
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                                                                          1                           BENCH CONFERENCES AND RECESSES
                                                                          2
                                                                          3          From time to time during the trial, it may become necessary for me to talk with the
                                                                          4   attorneys out of the hearing of the jury, either by having a conference at the bench when the jury
                                                                          5   is present in the courtroom, or by calling a recess. Please understand that while you are waiting,
                                                                          6   we are working. The purpose of these conferences is not to keep relevant information from you,
                                                                          7   but to decide how certain evidence is to be treated under the rules of evidence and to avoid
                                                                          8   confusion and error.
                                                                          9          We will, of course, do what we can to keep the number and length of these conferences
                                                                         10   to a minimum. I may not always grant an attorney’s request for a conference. Do not consider
                                                                         11   my granting or denying a request for a conference as any indication of my opinion of the case or
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                                                                         12   of what your verdict should be.
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                                                                          1                                       OUTLINE OF TRIAL
                                                                          2
                                                                          3          The next phase of the trial will now begin. First, each side may make an opening
                                                                          4   statement. An opening statement is not evidence. It is simply an outline to help you understand
                                                                          5   what that party expects the evidence will show. A party is not required to make an opening
                                                                          6   statement.
                                                                          7          The plaintiff will then present evidence, and counsel for the defendant may cross-
                                                                          8   examine. Then the defendant may present evidence, and counsel for the plaintiff may cross-
                                                                          9   examine.
                                                                         10          After the evidence has been presented, I will instruct you on the law that applies to the
                                                                         11   case and the attorneys will make closing arguments.
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                               For the Northern District of California




                                                                         12          After that, you will go to the jury room to deliberate on your verdict.
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